Case 2:05-CV-02177-SHI\/|-STA Document 45 Filed 08/03/05 Page 1 of 5 Page|D 63

Fll.En BY _% ga
IN THE UNITED sTATES DISTRICT CoURT '-"' '
FoR THE WESTERN DISTRICT oF TENNESSEE g _ _
wESTERN DIVIsIoN 5 AUG 3 m m’ '7
sAMUEL D. LEGGETT, et al., ) MW§P§M%
) W/D e;f tit tth
Plaintirrs, )
)
v. ) No. 05-2177 Ma/An
)
DUKE ENERGY CoRPoRATIoN, )
et al., )
)
Defendants. )

 

ORDER DIRECTING CLERK TO REMOVE MO'I`ION FROM
PENDING STATUS

 

Pending on the Court’s docket is the Defendants’ Joint Motion for Extension of Time to
File Answer to Notiee of Removal and Motion for Extension of Time to File Response to Motion
to Rernand filed on April 25, 2005 (D.E. # 28). On May 24, 2005, lodge Mays granted a Motion
to File Reply, and on July 27, 2005, the Undersigned entered an Order addressing the Motion for
Extension of Time to File Answer to Notice of Removal. Therefore, the Clerk of the Court is

directed to remove Docket Entry # 28 from pending status.

<:g~%m M/¢&¢»J

S. THOMAS ANDERSON
UN[TED STATES MAGISTRATE IUDGE

Date: Zdrg,{' JZI, ZOQJ/

IT IS SO ORDERED.

Ti.is document entered on the doc
with Ru|e be and/or 79{3) FRCP on

' sheet _iti comp£t`¢utt;e

  
 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 45 in
case 2:05-CV-02177 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Barbara Walls

CHANCERY COURT7 25 TH IUDICIAL DISTRICT
Fayette County Courthouse

Somerville, TN 38068

Robert B. Wolinsky

HOGAN & HARTSON L.L.P.
555 13th Street7 NW
Washington, DC 20004

John S. Wilder

WILDER & SANDERS
108 E. Court Square
Somerville, TN 38068--143

Shea Sisk Wellford

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

J ames J. Webb

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Douglas Tribble

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Amy E. Tabor
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

Case 2:O5-cV-02177-SHI\/|-STA Document 45 Filed 08/03/05 Page 3 of 5 Page|D 65

Leslie H. Spiegel

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Heather Skinazi

SIDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

Jeffrey 1\/1. Shohet

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Steven J. Routh

HOGAN & HARTSON, L.L.P.
555 13th Street7 NW
Washington, DC 20004

Mark R. Robeck
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

Glen G. Reid

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Diane Pritchard

MORRISON & FOERSTER LLP
425 Market Street

San Francisco, CA 94105--248

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Paul HoWard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Case 2:O5-cV-02177-SHI\/|-STA Document 45 Filed 08/03/05 Page 4 of 5 Page|D 66

Joel B. Kleinman

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Noah A. Katsell

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Michael Kass

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Mark H. Hamer

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Drive

Suite 1 100

San Diego7 CA 92121

Mark Haddad

SIDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Brian S. Faughnan

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Alan G. Crone

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Case 2:O5-cV-02177-SHI\/|-STA Document 45 Filed 08/03/05 Page 5 of 5 Page|D 67

Robert E. Craddock

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

J. Gregory Copeland
BAKER BOTTS, LLP
910 Louisiana
Houston, TN 77002

Thomas H. Brill

LAW OFFICE OF THOMAS H. BRILL
65 52 Sagamore Road

Mission Hills, KS 66208

Cannon F. Allen

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

